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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               NORTHERN DIVISION
                                  AT COVINGTON

CRIMINAL ACTION NO. 16-42-DLB-CJS-1
CIVIL ACTION NO. 18-108-DLB-CJS

UNITED STATES OF AMERICA                                                            PLAINTIFF


v.             ORDER ADOPTING REPORT AND RECOMMENDATION


ANTHONY MASON                                                                     DEFENDANT

                        * *   * *   * *   * *       * *   * *   * *   * *

       This matter is before the Court upon the August 28, 2019 Report and

Recommendation (“R&R”) of United States Magistrate Judge Candace J. Smith (Doc. #

118), wherein she recommends that Defendant’s Motion to Vacate, Set Aside or Correct

Sentence pursuant to 28 U.S.C. § 2255 (Doc. # 98) be denied.

       No objections having been filed, and the time to do so having now expired, the

R&R is ripe for the Court’s consideration. The Court having reviewed the R&R, concluding

that it is sound in all respects, and being otherwise sufficiently advised,

       IT IS ORDERED as follows:

       (1)    The Magistrate Judge’s Report and Recommendation (“R&R”) (Doc. # 118)

is hereby adopted as the findings of fact and conclusions of law of the Court;

       (2)    The Defendant’s Motion to Vacate, Set Aside or Correct Sentence pursuant

to 28 U.S.C. § 2255 (Doc. # 98) is hereby denied;




                                                1
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       (3)    For the reasons set forth in the Magistrate Judge’s R&R (Doc. # 118), the

Court determines there would be no arguable merit for an appeal in this matter and,

therefore, no certificate of appealability shall issue; and

       (4)    A separate Judgment will be filed concurrently herewith.

       This 27th day of September, 2019.




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